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JOHN R. B|GGERSTAFF

MOT|ON FOR CAP|AS
The United States of America, by A. Lee Bent|ey, |||, United States Attorney
for the Midd|e District of F|orida, moves this Court to issue a capias for JOHN R.
B|GGERSTAFF, against whom an indictment was returned in the Jacksonvi||e
Division of the Midd|e District of F|orida.
Respectfu||y submitted,

A. LEE BENTLEY, ill
U ° States Attorney

 

 

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